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IN THE U'NITED STATES DISTRICT COURT
FOR TI-IE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

06/27/2005

CASE NO: 04-20483-B

USA vS. TIMOTHY JOHNSON

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US DISTRICT COURT

